Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                         Main Document    Page 1 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                         Main Document    Page 2 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                         Main Document    Page 3 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                         Main Document    Page 4 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                         Main Document    Page 5 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                         Main Document    Page 6 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                         Main Document    Page 7 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                         Main Document    Page 8 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                         Main Document    Page 9 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 10 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 11 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 12 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 13 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 14 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 15 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 16 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 17 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 18 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 19 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 20 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 21 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 22 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 23 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 24 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 25 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 26 of 27
Case 1:10-bk-13001-GM   Doc 67 Filed 06/22/10 Entered 06/22/10 18:02:29   Desc
                        Main Document    Page 27 of 27
